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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                             USDC SDNY
 TRUSTEES OF THE NEW YORK CITY                               DOCUMENT
 DISTRICT COUNCIL OF CARPENTERS                              ELECTRONICALLY FILED
 PENSION FUND, WELFARE FUND,                                 DOC #:
 ANNUITY FUND, APPRENTICESHIP,                               DATE FILED: 10/16/2020
 JOURNEYMAN RETRAINING,
 EDUCATIONAL AND INDUSTRY FUND,
 TRUSTEES OF THE NEW YORK CITY
 CARPENTERS RELIEF AND CHARITY                                1:18-cv-9175-MKV
 FUND, et al.,
                                                                    ORDER
                           Plaintiffs,

                    -against-

 INNISS CONSTRUCTION, INC., et al.,

                           Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       On October 15, 2020, Plaintiffs filed a motion for a default judgment against Defendant

Inniss Construction Company, Inc. [ECF #56]. Accordingly, IT IS HEREBY ORDERED that

counsel for Plaintiffs and Defendant Inniss Construction Company shall appear for a default

judgment hearing on November 12, 2020 at 2:00 PM. The hearing will be held by telephone. To

join, dial 888-278-0296 and enter access code 5195844.

       IT IS FURTHER ORDERED that submissions in connection with the hearing shall be

filed by November 5, 2020. IT IS FURTHER ORDERED that Plaintiffs shall serve a copy of

this Order on Defendant Inniss Construction Company, and file proof of such service on ECF, by

October 23, 2020.

SO ORDERED.
                                            _________________________________
Date: October 16, 2020                            MARY KAY VYSKOCIL
      New York, NY                                United States District Judge
